 1                                                                        HONORABLE MARY JO HESTON
                                                                          Hearing Date: February 20, 2020
 2                                                                                 Hearing Time: 1:00 pm
                                                                         Response date: February 13, 2020
 3

 4                  IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                         WESTERN DISTRICT COURT OF WASHINGTON
 5

 6   Re
                                                             In Chapter 13 Proceeding
 7   ISRAEL J. MCKINNEY                                      No. 18-40294-MJH
 8
                          Debtor(s)                          AMENDED Motion to Allow
 9
                                                             Debtor(s) to Modify Home
10                                                           Loan with Midfirst Bank
     ______________________________
11

12                       COMES NOW the Debtor(s), by and through their attorneys of record, the law offices

13   of BROWN AND SEELYE PLLC, and moves the Court for an order allowing Debtor(s) to enter into a loan

14   modification with Midfirst Bank. A copy of the Loan Modification terms are attached. The modified loan

15   has an interest rate of 3.875%. The monthly principal and interest payment amount is $630.42 with a

16   monthly escrow payment amount of $448.84 which may adjust periodically with a total monthly payment

17   of $1118.46 with a maturity date of 6/1/2050

18    The new principal balance of the note will be $134,063.27 which will include any post-petition arrears.

19                        WHEREFORE, Debtor(s) move this Court for an Order allowing them to Modify the

20   mortgage per the terms of the attached Loan Modification Agreement terms.

21                        RESPECTFULLY SUBMITTED February 3, 2020.

22                                                                 /s/ Ellen Ann Brown
                                                                   __________________________________
                                                                   Ellen Ann Brown WSB27992
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                                                                                 BROWN and SEELYE PLLC
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